                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:14-00025
                                               )          JUDGE CAMPBELL
MARIO IBERRA RAIZ                              )
a/k/a JOSE VALLECILLO-LOZANO                   )

                                           ORDER

         Pending before the Court is Defendant Raiz’s Motion For Change Of Plea Hearing

(Docket No. 53). The Motion is GRANTED. The Court will hold a change of plea hearing for

Defendant Raiz on September 4, 2014, at 2:00 p.m. Any proposed plea agreement shall be

submitted to the Court on or before September 2, 2014.

         It is so ORDERED.


                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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